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           EXHIBIT 4
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

  ___________________________________
                                      )
  BOND PHARMACY, INC., d/b/a AIS      )
  HEALTHCARE,                         )
                                      )
                    Plaintiff,        )                Case No. 1:22-cv-01343-CMH-IDD
                                      )
              v.                      )
                                      )
  ANTHEM HEALTH PLANS OF              )
  VIRGINIA, INC., d/b/a ANTHEM        )
  BLUE CROSS AND BLUE SHIELD,         )
                                      )
                    Defendant.        )
  ___________________________________ )

                    PLAINTIFF’S MOTION FOR LIMITED EXTENSION
                      OF CLOSE OF FACT DISCOVERY DEADLINE

        Plaintiff/ Counter-Defendant Bond Pharmacy, Inc., d/b/a AIS Healthcare (“AIS”),

 respectfully moves this Court for a brief extension of the close of fact discovery deadline in this

 litigation, for reasons stated in AIS’s Memorandum in Support of this Motion.

 Dated: September 11, 2023             Respectfully submitted,




                                       By:
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                                       Attorneys for Plaintiff-Counter Defendant AIS


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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

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  BOND PHARMACY, INC., d/b/a AIS      )
  HEALTHCARE,                         )
                                      )
                    Plaintiff,        )                  Case No. 1:22-cv-01343-CMH-IDD
                                      )
              v.                      )
                                      )
  ANTHEM HEALTH PLANS OF              )
  VIRGINIA, INC., d/b/a ANTHEM        )
  BLUE CROSS AND BLUE SHIELD,         )
                                      )
                    Defendant.        )
  ___________________________________ )

            MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION
      FOR LIMITED EXTENSION OF CLOSE OF FACT DISCOVERY DEADLINE

        Plaintiff/ Counter-Defendant Bond Pharmacy, Inc., d/b/a AIS Healthcare (“AIS”), hereby

 requests the Court extend the close of fact discovery deadline in this litigation as it relates to

 discovery involving non-party the Health Law Partners, P.C. (“HLP”). In support of the motion,

 AIS states as follows:

             1. AIS filed a Complaint in this matter on November 23, 2023.

             2. Anthem Health Plans of Virginia, Inc., d/b/a Anthem Blue Cross and Blue Shield

 (“Anthem”), filed a Motion to Dismiss AIS’s Complaint on February 3, 2023.

             3. The Court denied Anthem’s Motion on April 12, 2023.

             4. Anthem answered AIS’s Complaint and asserted a Counterclaim for breach of

 contract against AIS on April 26, 2023.

             5. AIS filed a Motion to Dismiss Anthem’s Counterclaim on May 31, 2023.




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            6. The Court denied AIS’s Motion to Dismiss Anthem’s Counterclaim on July 17,

 2023.

            7. AIS answered Anthem’s Counterclaim on July 31, 2023.

            8. On July 17, 2023, the Court issued an amended scheduling order in this action,

 setting the following deadlines:

                    •   September 1, 2023: Deadline for notices of deposition;

                    •   September 12, 2023: Close of fact discovery;

                    •   September 22, 2023: Deadline for expert disclosures for party with the

                        burden of proof;

                    •   October 6, 2023: Deadline for disclosures for responsive experts;

                    •   October 20, 2023: Deadline for rebuttal expert disclosures for the party

                        with the burden of proof;

                    •   November 15, 2023: Close of expert discovery;

                    •   November 22, 2023: Deadline to file list of witnesses to be called at trial,

                        written stipulation of uncontested facts, and copies of trial exhibits;

                    •   November 29, 2023: Deadline to object to opposing party’s witness and

                        exhibit lists; and

                    •   December 1, 2023: Deadline to file motions for summary judgment.

            9. The Court has not set a trial date in this matter.

            10. AIS and Anthem (the “Parties”) have worked diligently to exchange discovery

 requests, produce substantial volumes of responsive documents, and complete depositions.




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            11. To that end, in its review of Anthem’s document productions, AIS discovered

 communications between Anthem and a law firm, HLP, that are relevant to the claims and

 defenses underlying this litigation.

            12. Accordingly, on July 14, 2023, AIS issued a subpoena to HLP for the production

 of non-privileged documents and the deposition of HLP’s corporate representative on a list of

 specific topics. 1 See Exhibit A.

            13. After several conferrals, HLP produced 20 documents. HLP failed to produce a

 log identifying any responsive documents withheld from production on the basis of the attorney-

 client or work-product privilege.

            14. HLP agreed to produce its corporate representative for deposition pursuant to

 Federal Rule of Civil Procedure 30(b)(6).

            15. On September 1, 2023, AIS deposed HLP’s corporate representative, Robert

 Dindoffer. Mr. Dindoffer was unprepared to answer questions on behalf of HLP regarding AIS’s

 deposition topics, despite initially testifying that he was prepared to do so. HLP refused to

 answer almost all of AIS’s questions on the basis of improper privilege objections.

            16. In response to HLP’s improper and obstructionist conduct, on September 11,

 2023, AIS filed a motion in the District Court for the Eastern District of Michigan seeking an

 order compelling HLP to comply with the terms of the subpoena (the “Motion to Compel”). See

 Exhibit B. AIS simultaneously filed a motion to expedite the proceedings related to its Motion

 to Compel to accommodate the discovery deadlines in this action. See Exhibit C.




 1
   AIS also issued a subpoena to the Dresivic, Iwrey, Kalmowitz & Pendleton Law Group, A
 Division of the Health Law Partners, P.C. (the “NY Affiliate”), on July 14, 2023. HLP accepted
 service of the subpoenas on behalf of itself and the NY Affiliate and agreed that its corporate
 representative would testify on behalf of both entities.
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Case
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             17. AIS now moves the Court for a brief extension of the current deadline for the

 close of fact discovery limited to pursuing discovery regarding HLP.

             18. AIS requests that the close of fact discovery, scheduled for September 12, 2023,

 be extended to October 10, 2023, only as it relates to HLP.

             19. Good cause exists for granting AIS’s Motion. A brief extension will afford the

 District Court for the Eastern District of Michigan sufficient time to rule on AIS’s Motion to

 Compel. It will also allow AIS sufficient time to depose HLP and seek discovery against HLP if

 its Motion to Compel is granted.

             20. This Motion is not made for the purpose of undue delay, and has been submitted

 in advance of the expiration of the current deadline for the close of fact discovery.

             21. Additionally, because no trial date has been set and the motion relates to a narrow

 area of discovery, the requested extension will not result in prejudice to any party or improperly

 delay the litigation.

             22. Counsel for AIS and Anthem met and conferred on the motion, and Anthem’s

 counsel does not consent to the motion.

         WHEREFORE, for the foregoing reasons, AIS requests a brief extension of time to

 complete fact discovery as it relates to HLP up to and including October 10, 2023.




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 Dated: September 11, 2023      Respectfully submitted,


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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  ___________________________________
                                      )
  BOND PHARMACY, INC., d/b/a AIS      )
  HEALTHCARE,                         )
                                      )
                    Plaintiff,        )              Case No. 1:22-cv-01343-CMH-IDD
                                      )
              v.                      )
                                      )
  ANTHEM HEALTH PLANS OF              )
  VIRGINIA, INC., d/b/a ANTHEM        )
  BLUE CROSS AND BLUE SHIELD,         )
                                      )
                    Defendant.        )
  ___________________________________ )


             [Proposed] ORDER GRANTING PLAINTIFF’S MOTION
   FOR LIMITED EXTENSION OF THE CLOSE OF FACT DISCOVERY DEADLINE

        Having considered the Motion of Plaintiff/ Counter-Defendant Bond Pharmacy, Inc., d/b/a

 AIS Healthcare (“AIS”), for Limited Extension Of The Close Of Fact Discovery Deadline and any

 responses thereto, it is hereby:

        ORDERED that the Motion is GRANTED; and it is further

        ORDERED that the deadline for fact discovery in this action as it relates to discovery

 involving non-party the Health Law Partners, P.C. (“HLP”), shall be extended up to and including

 October 12, 2023.



 Dated: ______________                                            ________________________
                                                                The Honorable Claude M. Hilton
                                                                    United States District Judge




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